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 7
                         IN THE UNITED STATES DISTRICT COURT
 8
                        FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10
     UNITED STATES OF AMERICA,     )              Case No. 2:11-cr-00504 WBS
11                                 )
                    Plaintiff,     )
12                                 )                          ORDER
          v.                       )
13                                 )
     JEWEL L. HINKLES,             )
14                                 )
                                   )
15                  Defendant.     )
     ______________________________)
16
                                         ORDER
17
          Good cause having been shown, the Government is granted leave
18
     to file Exhibits 2 through 10 of the Government’s Notice of Motion
19
     and Motion for Revocation of Release for Jewel L. Hinkles under
20
     seal.
21
          SO ORDERED.
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     DATED:    October 12, 2012.
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